 Fill in this information to identify 'Our case:
 Debtor I               Richard A. Burt
                               First Name            Middle Name              Last Name
 Debtor 2            Alisha M Burt
 (Spouse, if tiling) First Name       Middle Name           Last Name
 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF INDIANA                                       D Check if this is an amended plan, and
                                                                                                                          list below the sections of the plan that
 Case number:                                                                                                             have been changed.

 (If known )



Official Form 113
Cha£ter 13 Plan                                                                                                                                               12/17



IWfiM Notices
To Debtor(s):               This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                            indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                            do not comply with local rules and judicial rulings may not be confirmable.

                            In the following notice to creditors, you must check each box that applies

To Creditors:               Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                            You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                            an attorney, you may wish to consult one.

                            If you oppose the plan' s treatment of your claim or any provision of this plan, you or your attorney must tile an obj ection to
                            confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                            alsCourt. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is fi led. See
                            Bankruptcy Rule 3015. In addition, you may need to tile a time ly proof of c laim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1           A limit on the amount of a secured claim, set out in Section 3.2, which may result in            • Included                D Not Included
               a partial payment or no payment at a ll to the secured creditor
 1.2           Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              D Included                 • Not Included
               set out in Section 3.4.
 1.3           Nonstandard provisions, set out in Part 8.                                                       • Included                D Not Included
                         -- - - -




IWfM Plan Payments and Length of Plan
2.1            Debtor(s) will make regular payments to the trustee as follows:

$3,500.00 per Month for 60 months

Insert additional lines if needed.

               If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
               payments to creditors specified in this plan.

2.2            Regular payments to the trustee will be made from future income in the following manner.

               Check all that apply:
                •       Debtor(s) will make pay ments pursuant to a payroll deduction order.
                D          Debtor(s) will make pay ments directly to the trustee.
                •          Other (specify method of payment):
                           Wage deduction will be sought

2.3 Income tax refunds.
    Check one.

APPENDIX D                                                                        Chapter 13 Plan                                                 Page I
Software Copyright (c) \996-20 19 Best Case. LLC - www.bestcase.com                                                                     Best Case Bankmptcy
                                             Page 1 of 6              Filed 08/13/19      Doc 8      Case 19-11434-reg
 Debtor                 Richard A. Burt                                                                   Case number
                        Alisha M Burt

               •           Debtor(s) will retain any income tax refunds received during the plan term.

               D           Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                           return and will turn over to the trustee all income tax refunds received during the plan term.

               D           Debtor(s) will treat income refunds as follows:




2.4 Additional payments.
    Check one.
          •       None. If "None " is checked, the rest of§ 2. 4 need not be completed or reproduced.

2.5           The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $210,000.00.

lilftiM Treatment of Secured Claims
3.1           Maintenance of payments and cure of default, if any.

        Check one.
         D        None. If "None " is checked. the rest of§ 3. 1 need not be completed or reproduced.
         •       The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                  required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                  by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                 disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                 a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                 as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                 below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                 otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                 that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                 by the debtor(s ).
 Name of Creditor     Collateral                  Current installment       Amount of             Interest rate    Monthly payment Estimated
                                                  payment                   arrearage (if any) on arrearage        on arrearage          total
                                                  (including escrow)                              (if applicable)                        payments by
                                                                                                                                         trustee

                                10519 w.
                                Mohawk Ct. Fort
 StateBridge                    Wayne, IN 46804                                             Prepetition:
 Mortgage                       Allen County                                  $998.00           $5,000.00         0.00%                              $64,880.00
                                                                      Disbursed by:
                                                                      • Trustee
                                                                      D Debtor(s)
Insert additional claims as needed.

3.2           Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

               D           None. If "None " is checked, the rest of§ 3.2 need not be completed or reproduced.
                           The remainder of this paragraph will be effective only if the applicable box in Part I of this plan is checked.

               •           The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                           claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                           secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                           listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
                           listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                           of this plan. If the amount of a creditor's secured claim is listed below as having no value, the creditor's allowed claim will be
                           treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                           creditor's total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


Official Form 113                                                                       Chapter 13 Plan                                          Page 2
Software Copyright (c) 1996-201 9 Best Case. LLC- www.bestcase .com                                                                   Best Case Bankruptcy
                                              Page 2 of 6                Filed 08/13/19        Doc 8        Case 19-11434-reg
 Debtor                Richard A. Burt                                                              Case number
                       Alisha M Burt

                          The holder of any claim listed below as having value in the column headed Amount ofsecured claim will retain the lien on the
                          property interest of the debtor(s) or the estate(s) until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) discharge of the underlying debt under II U.S.C. § 1328, at which time the lien wil l terminate and be released by the creditor.


 Name of               Estimated             Collateral             Value of     Amount of         Amount of        Interest     Monthly    Estimated
 creditor              amount of                                    collateral   claims senior     secured claim    rate         payment to total of
                       creditor's                                                to creditor's                                   creditor   monthly
                       total claim                                               claim                                                      paym ents
                                            2008 Buick
                                            Lucerne
                                            130,000
                                            miles
                                            Location:
 Credit                                     10519 w.
 Acceptan                                   Mohawk
 ce                                         Ct., Fort
 Corportati                                 Wayne IN
 on                    $2,864.56            46804                   $2,500.00         $0.00          $2,864.56       5.50%                            $2,988.39
                                            10519 W.
                                            Mohawk
 Kekionga                                   Ct. Fort
 Shores                                     Wayne, IN
 Communi                                    46804
 ty Assoc.                                  Allen                   $185,000.0    $159,493.
 INc                   $6,515.30            Coun!}'                 0                    14          $6,515.30       8.00%                            $6,929.60
                                            2010 Buick
                                            Enclave
                                            120,000
                                            miles
                                            Location:
                                            10519 w.
                                            Mohawk
 Mid-Atlan                                  Ct., Fort
 tic                                        Wayne IN
 Finance               $6,669.42            46804                   $8,000.00         $0.00          $6,669.42       5.50%                            $6,957.71
                                            2015 Ford
                                            Focus
                                            135000
                                            miles
                                            Daughter's
                                            vehicle
                                            Location:
                                            10519 w.
                                            Mohawk
 Mid-Atlan                                  Ct., Fort
 tic                  $10,044.3             Wayne IN
 Finance              6                     46804                   $8,000.00         $0.00          $8,000.00       0.00%                            $8,000.00
      --
Insert additional claims as needed.

 3.3         Secured claims excluded from 11 U.S.C. § 506.

      Check one.

              •           None. If ··None" is checked, the rest of§ 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.

Official Form 11 3                                                               Chapter 13 Plan                                               Page 3
Software Copyright (c) 1996-2019 Best Case, LLC- www.bestcase.com                                                                    Best Case Bankruptcy
                                            Page 3 of 6              Filed 08/13/19     Doc 8        Case 19-11434-reg
 Debtor                 Richard A. Burt                                                             Case number
                        Alisha M Burt

               •           None.    If "None •• is checked, the rest of§ 3. 4 need not be completed or reproduced.

3.5           Surrender of collateral.

              Check one.
               •      None. lf "None" is checked, the rest of§ 3.5 need not be completed or reproduced.

lil!fiiM Treatment of Fees and                   Priority Claims

4.1           General
              Trustee' s fees and all allowed priority c laims, including domestic support obl igations other than those treated in § 4.5, will be paid in full
              without postpetition interest.

4.2           Trustee's fees
              Trustee' s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
              during the plan term, they are estimated to total $21 ,000.00.

4.3           Attorney's fees.

              The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,910.00.

4.4           Priority claims other than attorney's fees and those treated in § 4.5.

             Check one.
              D      None. If ··None " is checked, the rest of§ 4.4 need not be completed or reproduced
              •      The debtor(s) estimate the total amount of other priority claims to be $4,000.00

4.5           Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
              •      None. If "None " is checked, the rest of§ 4.5 need not be completed or reproduced.



lil!fiiW Treatment of Non priority Unsecured Claims
5.1          Non priority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
      D        The sum of$
      •          100.00 %of the total amount of these claims, an estimated payment of$ 14,729.65
      D            The funds remaining after disbursements have been made to all other creditors provided for in th is plan.



                   If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims wou ld be paid approximately $ 0.00
                   Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on non priority unsecured claims. Check one.

               •          None.     If "None " is checked, the rest of§ 5.2 need not be completed or reproduced.

5.3          Other separately classified non priority unsecured claims. Check one.

               •          None.     If "None" is checked, the rest of§ 5.3 need not be completed or reproduced.

lil!fiM Executory Contracts and Unexpired Leases


Official Form 113                                                               Chapter 13 Plan                                                  Page 4
Software Copyright (c) 1996-20 19 Best Case. LLC- www.bestcase.com                                                                     Best Case Bankruptcy
                                            Page 4 of 6              Filed 08/13/19     Doc 8        Case 19-11434-reg
 Debtor                Richard A. Burt                                                             Case number
                       Alisha M Burt

6.1          The executory contracts and unexpired leases listed below arc assumed and will be treated as specified. All other ewrutory
             contracts and unexpir·ed leases are rejected. Check one.

              •           None. If "None .. is checked. the rest of§ 6. 1 need no/ be comple!ed or reproduced.



IMW Vesting of Property of the Estate
7.1        Property of the estate will ' 'est in the debtor(s) upon
      Check the appliable box:
       D    plan confitmation.
       •    entry of discharge.
      D       other:

IMM Nonstandard Plan Provisions
8.1          Check "None" or List Nonstandard Plan Provisions
             D      None. If "None .. is checked. the rest of Part 8 need not he completed or reproduced.

Under Bankruptcy Rule 30 /5(c). nonstandard provisions must be set.forlh below. A nonstandard provision is a prorision110t othenrise included in
the Official Form or deviating.fi'om it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective on(v if there is a check in the box "Included" in§ 1.3.
 Debtors shall surrender the 2015 Ford Focus to their daughter, a codebtor on the loan, who debtors believe will continue to
 make payments on the vehicle. Should it be repossessed a deficiency claim may be filed with the Court for payment as a
 general unsecured debt. Upon entry of discharge any debt remaining shall be discharged.

 Debtor wife shall maintain the student loans directly and outside the Plan.



IMW Signature(s):
9.1       Signatures of Debtor(s) and Debtor(s)' Attorney
!.fthe Debtor(s) do not have an altorney. the Debtor(s) must sign below. other>vise the Debtods) signatures are optional. The allomey.fbr n ehtorls).
ir;my. mus~w./                                                                   X    (\    lA-~
        RicC;s?.kirt                                                                  ~aM Burt
        Signaj).lfe'1J'f Debtor I                                                       Signature of Debtor 2

                                      st 13, 2019                                       Executed on    August 13, 2019

X                                                                                Date     August 13, 2019
                                    19743-02


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for J)ebtor(s) also certify(ics) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Fo rm 113, other than any nonstandard provisions
included in Part 8.




Official Form I 13                                                              Chapter 13 Plan                                              Page 5
Software C'l'yright (c) 19%-20 19 Best Case. LLC- www.bestcase.com                                                           H~st   Ca"l!   Bankruptc~·




                                        Page 5 of 6                  Filed 08/13/19     Doc 8         Case 19-11434-reg
  Debtor               Richard A. Burt                                                           Case number
                       Alisha M Burt

Exhibit: Total Amount of Estimated Trustee Parments
The following are the estimated pay ments that the plan requires the trustee to disburse. lfthere is any difference between the amo unts set
out below and the actual plan terms, the plan terms control.

 a.     Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                            $64,880.00

 b.     Modified secured claims (Part 3, Section 3.2 total)                                                                                    $24,875.70

 c.     Secured claims excluded from II U.S.C. § 506 (Part 3, Section 3.3 total)                                                                      .~0.00

 d.     Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                    _ _$0.00

 e.     Fees and priority claims (Part 4 total)                                                                                                $28,910.00

 f.     Nonpriority unsecured claims (Part 5, Section 5.1 , highest stated amount)                                                             $14,729.65

 g.     Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                 _iO.OO

 h.     Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                            _iO.OO

 1.     Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                      _iO.OO

 j.     Nonstandard payments (Part 8, total)                                                                   +                                      $0.00


 Total of lines a through j                                                                                                                 $133,395.35 ]




Official Form 113                                                              Chapter 13 Plan                                            Page 6
Software Copyright (c) 1996-2019 Best Case, LLC- www.bestcase.com                                                              Best Case Bankruptcy
                                           Page 6 of 6              Filed 08/13/19   Doc 8       Case 19-11434-reg
